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In the Gnited States Court of Federal Claims

 

No. 14-128 C
(Filed August 15, 2014) FILED
UNPUBLISHED AUG 15 2014
U.S. COURT OF
DIANNE L. BUTTS, *
Ps
Pro Se Plaintiff, *
* Employment-Related Claims
Vv. * against County School Board; 28
* USS.C. § 1631 (2012); Transfer
THE UNITED STATES, * toa United States District Court.
*
Defendant. *
*

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Dianne L. Butts, Dumfries, VA, pro se.

Russell J. Upton, United States Department of Justice, Washington, DC, for
defendant, with whom were Stuart F. Delery, Assistant Attorney General, Robert
E. Kirschman, Jr., Director, Kirk T. Manhardt, Assistant Director, Washington,
DC, for defendant.

 

OPINION AND ORDER

 

BUSH, Senior Judge.

The court has before it plaintiff's amended pro se complaint, defendant’s
motion to dismiss the complaint brought under Rule 12(b)(1) of the Rules of the
United States Court of Federal Claims (RCFC), and plaintiffs cross-motion for
transfer of her suit. Because the court lacks jurisdiction over plaintiffs
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employment-related claims, defendant’s motion to dismiss is denied and plaintiff's
cross-motion to transfer is granted. For the reasons set forth below, transfer to the
United States District Court for the Eastern District of Virginia is appropriate.

DISCUSSION
I. Standard of Review

The court acknowledges that Ms. Butts is proceeding pro se, and is “not
expected to frame issues with the precision of a common law pleading.” Roche v.
U.S. Postal Serv., 828 F.2d 1555, 1558 (Fed. Cir. 1987). Pro se plaintiffs are
entitled to a liberal construction of their pleadings. See Haines v. Kerner, 404
U.S. 519, 520 (1972) (requiring that allegations contained in a pro se complaint be
held to “less stringent standards than formal pleadings drafted by lawyers”).
Accordingly, the court has examined the complaint and Ms. Butts’ opposition
brief thoroughly and has attempted to discern all of plaintiff's legal arguments.

In rendering a decision on a motion to dismiss for lack of subject matter
jurisdiction pursuant to RCFC 12(b)(1), this court must presume all undisputed
factual allegations to be true and construe all reasonable inferences in favor of the
plaintiff. Scheuer v. Rhodes, 416 U.S. 232, 236 (1974), abrogated on other
grounds by Harlow v. Fitzgerald, 457 U.S. 800 (1982); Reynolds v. Army & Air
Force Exch. Serv., 846 F.2d 746, 747 (Fed. Cir. 1988). However, plaintiff bears
the burden of establishing subject matter jurisdiction, Alder Terrace, Inc. v. United
States, 161 F.3d 1372, 1377 (Fed. Cir. 1998) (citing McNutt v. Gen. Motors
Acceptance Corp. of Ind., 298 U.S. 178, 189 (1936)), and must do so by a
preponderance of the evidence, Reynolds, 846 F.2d at 748 (citations omitted). If
jurisdiction is found to be lacking, this court must dismiss the action. RCFC
12(h)(3).

II. Amended Complaint

Although the caption of the pro se amended complaint contains no mention
of Ms. Butts’ former employer, it is clear that she intends the Prince William
County (Virginia) Public Schools to be a co-defendant in this suit. Am. Compl. J
13. It is against this co-defendant (PWCS) that all of plaintiff's various
employment-related claims are lodged: (1) Employment/Race Discrimination;

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(2) Wrongful Willful Termination; (3) Full Reinstatement of Benefits; (4) Lack of
Proper Training; and, (5) Disability Discrimination. Jd. at 4, 10, 63, 71, 78; see
also P|.’s Resp. at 6 (describing her suit as being “against her employer” — the
PWCS). The complaint describes a number of actions taken by PWCS which give
rise to plaintiff's claims, notably including her termination from her teaching
position in 2011. Jd. § 82. Plaintiff asserts that jurisdiction in this court lies for
her claims pursuant to “USERRA 38 U.S.C. 4323(b), Title I American Disabilities
Act (“ADA”) 1999; & Title VII Civil Rights Act of 1964.”! Id. J 12.

III. Defendant’s Motion to Dismiss

The government persuasively argues that this court lacks jurisdiction over
plaintiff's USERRA claims brought against the PWCS. See Def.’s Mot. at 8
(noting that Ms. Butts’ USERRA claim “is not based on federal employment”);
Def.’s Reply at 4 (noting that a USERRA claim brought by a private individual
against a state entity “is to be brought in a State court”). Defendant also notes that
even if plaintiff's complaint could be read as attempting to sue the United States in
this court for her employment-related claims, limits on this court’s jurisdictional
reach foreclose the court’s consideration of such claims. See Def.’s Mot. at 6
(citing persuasive authority for the proposition that “this Court does not possess
jurisdiction to consider Ms. Butts’ claims brought pursuant to Title VII of the
Civil Rights Act or the ADA”). Ms. Butts cannot refute the fact that her claims,
whether they are lodged against PWCS or the United States, have been filed in the
wrong court.”

Ms. Butts argues that the information provided to her regarding the proper
court was confusing, and that it is unfair to penalize her because she chose the
wrong court in which to file her suit. Pl.’s Resp. at 7-8. The court is aware of the
difficulties faced by pro se litigants but is bound by the limits on this court’s
jurisdiction. The PWCS cannot be sued in this court because the only proper

 

'/ Plaintiff relies upon the Uniformed Services Employment and Reemployment Rights
Act of 1994 (USERRA), 38 U.S.C. § 4323(b) (2012), the Americans with Disabilities Act of
1990 (ADA), 42 U.S.C. §§ 12101-12117 (2012); and Title VII of the Civil Rights Act of 1964
(Title VID), 42 U.S.C. §§ 2000e to 2000e-17 (2012).

*/ The court expresses no opinion as to whether Ms. Butts’ claims could survive motions
to dismiss in any federal or state court.
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defendant in this court is the United States. United States v. Sherwood, 312 U.S.
584, 588 (1941) (citations omitted). Simply put, because all of Ms. Butts’ claims
arise from her employment with the PWCS, her complaint contains no claims over
which this court has jurisdiction.

IV.  Plaintiff’s Cross-Motion to Transfer Her Suit

Plaintiff asks that this court transfer her claims “if the court decides it is best
not to proceed to trial.” Pl.’s Resp. at 2. The government opposes the motion to
transfer, arguing that Ms. Butts’ claims would not survive a motion to dismiss
brought in a United States District Court. Def.’s Reply at 4. The more pertinent
question, in the court’s view, is whether any of Ms. Butts’ claims are within the
jurisdiction of a district court.

Transfer of cases from this court to a district court is governed by 28 U.S.C.
§ 1631 (2012), which states in relevant part that

[w]henever a civil action is filed in [this] court... and
[this] court finds that there is a want of jurisdiction, the
court shall, if it is in the interest of justice, transfer such
action or appeal to any other such court in which the
action or appeal could have been brought at the time it
was filed or noticed, and the action or appeal shall
proceed as if it had been filed in or noticed for the court
to which it is transferred on the date upon which it was
actually filed in or noticed for the court from which it is
transferred.

Id. “Transfer is appropriate when three elements are met: (1) The transferring
court lacks subject matter jurisdiction; (2) the case could have been filed in the
court receiving the transfer; and (3) the transfer is in the interests of justice.”
Brown v. United States, 74 Fed. Cl. 546, 550 (2006) (citing 28 U.S.C. § 1631).
The first condition of the transfer statute has been met, because this court lacks
jurisdiction over plaintiff's employment-related claims.

The court believes that jurisdiction over claims such as Ms Butts’ Title VII
cause of action lies in a district court. See 42 U.S.C. § 2000e-5(f)(3); Hetzel v.
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Prince William County, 523 U.S. 208, 208-09 (1998) (discussing the prosecution
of a Title VII claim brought in a district court). The ADA claim is on less-sure
footing, but might be within a district court’s jurisdiction. Compare Ainsworth v.
Loudon County School Bd., 851 F. Supp. 2d 963, 978 & n.7 (E.D. Va. 2012)
(considering an ADA claim brought by a former employee against the Loudon
County (Virginia) School Board), with McCray v. Maryland Dep’t of Transp., 741
F.3d 480, 483 (4th Cir. 2014) (noting that state entities have sovereign immunity
against ADA Title I claims). In any case, because at least one of Ms. Butts’ claims
could, it appears, have been brought in the United States District Court for the
Eastern District of Virginia at the time it was filed here, the second condition of
the transfer statute has been met.’

As to the interest of justice, timeliness may be an issue for some of Ms.
Butts’ claims. See Def.’s Reply at 3 n.3. One compelling reason for transfer is
when a statute of limitations would possibly bar a newly filed claim, that would
otherwise, if transferred pursuant to section 1631, be considered to have been
timely filed as of the date of its original filing in this court. Texas Peanut Farmers
v. United States, 409 F.3d 1370, 1374-75 (Fed. Cir. 2005) (citation omitted). For
this reason, the court believes that it is in the interest of justice to transfer
plaintiff's Title VII claim to a district court. Thus, all of the conditions of the
transfer statute have been met in this instance.*

CONCLUSION

Accordingly, it is hereby ORDERED that

 

*/ Despite the possibility that a district court may ultimately determine that it lacks
jurisdiction over plaintiff's Title VII claim, or may rule that plaintiff's complaint fails to state any
claim upon which relief may be granted, this court’s role in the examination of the second
condition of the transfer statute is to merely discern whether a district court might have
jurisdiction over plaintiffs claims.

‘/ The complaint may include other claims cognizable in the district court, in addition to
plaintiff's Title VII claim. Because plaintiffs pro se complaint may contain more than one claim
within the district court’s jurisdiction, the court will transfer plaintiff's entire suit, not just her
Title VII claim. See Edelmann v. United States, 76 Fed. Cl. 376, 384 (2007) (transferring all of
the pro se plaintiffs’claims in that case, even those that did not risk dismissal as untimely if
newly filed in the district court).
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(2)

(3)

(4)

Defendant’s Motion to Dismiss, filed April 10, 2014, is DENIED as
moot;

Plaintiff's Cross-Motion to Transfer, filed May 6, 2014, is
GRANTED;

The Clerk’s office is directed, pursuant to 28 U.S.C. § 1631, to
TRANSFER this suit to the United States District Court for the
Eastern District of Virginia; and,

No costs.

 

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